  Case 2:21-cv-06152-JAK-MAR Document 9 Filed 11/24/21 Page 1 of 1 Page ID #:100

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV21-06152 JAK (MARx)                                        Date        November 24, 2021
 Title       Ohio Security Insurance Company v. Mega Jewels, et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                             Not Reported
                  Deputy Clerk                                    Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                    Not Present                                            Not Present


 Proceedings:           (IN CHAMBERS) ORDER DISMISSING CASE JS-6

An Order to Show Cause re Dismissal for Lack of Prosecution was issued by the Court on November
10, 2021 ordering Plaintiff either to: (i) respond in writing no later than November 17, 2021 as to why
the matter should not be dismissed for lack of prosecution. There has been no response filed to the
Order to Show Cause, nor has a proof of service been filed indicating that the summons and complaint
have been served on Defendant or their respective counsel. Therefore, the Court dismisses the matter
for lack of prosecution and failure to follow the Court's Orders.

IT IS SO ORDERED.




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                                                          Initials of Preparer      TJ




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